      Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 1 of 17



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

HOUSTON GRANITE AND MARBLE                      §
CENTER, LLC,                                    §
    Plaintiff,                                  §
                                                §
v.                                              §        CIVIL ACTION NO.
                                                §
MESA UNDERWRITERS SPECIALTY                     §
INSURANCE COMPANY,                              §
     Defendant.                                 §


                                  INDEX OF DOCUMENTS
                                  FILED IN STATE COURT

        Document:                                                  Date Filed:

     1. Civil Process Request                                      November 25, 2015

     2. Civil Case Information Sheet                               November 25, 2015

     3. Plaintiffs Original Petition and Requests for Disclosure   November 25, 2015

     4. Service Affidavit                                          January 5, 2016

     5. Defendant's Original Answer                                January 11, 2016

     6. Docket Sheet as of January 20, 2016




INDEX OF DOCUMENTS FILED IN STA TE COlJRT                                            PAGE]
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                                                                                                              Chris Daniel - District Clerk
                                                                                                              Harris County
                                                                                                              Envelope No: 7997279
                                                                                                              By: SOLIS, ADILIANI A
                                                                                                              Filed: 11/25/2015 4:07:00 PM
                        FOR EACH PARTY SERVED YOU MUST FURNISH ONE (1) COPY OF THE PLEADING
                       FOR V{RJTS FURNISH TWO (2) COPIES OF THE PLEADING PER PARTY TO BE SERVED

CASE NUMBER:

TYPE OFINSTRUMENT TO BE SERVED (See Reverse For Types):                          Plaintiffs Original Petition and Request for Disclosure


                                                                             Month/        Day/        Year
SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Serve*
1.   NAME: Mesa Underwriters Specialty Insur ance Company                                                     �    <1!J:
     ADDRESS:     2338 W. Royal Palm Rd., Suite J, Phoenix, AZ 85021 or whereve��ay be found
     AGENT, (if applicable): Corporation Service Company
                                                                               �
                                                                                                     ()�


TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type): _c_it_at_ i_o_n_ _. +-- �       """ ,, _��-
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   SERVICE BY (check one):                                                               /r\�      d



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      O CIVIL PROCESS SERVER- Authorized Person to Pick-up:                                      -                 Phone: -----
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                                  O NEWSPAPER OFYOUR CfJ· ·E:        �
      Ill OTHER, explain PLEASE MAIL CITATION TO OUR OFFICE. THANK Y�.
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2.   NAME:
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ATTORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
NAME : David P. Havins                             TEXAS BAR NO.IID NO.                                   092 39700
                                                                                                          ------------
MAILlNG ADDRESS: 6750 West Loop South, Suite 800, Bellaire, Texas 77401
PHONENUMBER: 713            484-5514                     FAX NUMBER: 713                                             665-6818
                                                                                                                     --------�
                         area code                  phone number                                       area code               r
                                                                                                                          fax numbe
EMAIL ADDRESS: roxana@havinslaw.com



                                                                        Page I of2
            Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 3 of 17


   SERVICE REQUESTS WHICH CANNOT BE PROCESSED BY THIS OFFICE WJLL BE HELD FOR 30 DAYS PRJOR TO
   CANCELLATION. FEES WILL BE REFUNDED ONLY UPON REQUEST, OR AT THE DISPOSITION OF THE CASE.
   SERVICE REQUESTS MAY BE REINSTATED UPON APPROPRV\TE ACTION BY THE PARTIES.



INSTRUMENTS TO BE SERVED:                                                                                                  PROCESS TYPES:
(Fill In Instrument Sequence Number, i.e. 1st, 2nd, etc.)
                                                                                                                           NON WRfT:
ORJGINAL PETITION                                                                                                          CITATION
       AMENDED PETITION                                                                                                    ALIAS CITATION
       SUPPLEMENTAL PETITION                                                                                               PLURIES IT   I   N
                                                                                                                           SECRETAR� _�· f'sTATE CITATION
                                                                                                                           COMMI�        R OF INSURANCE
COUNTERCLAIM                                                                                                               HIGHW�COMMISSIONER
      AMENDED COUNTERCLAIM                                                                                                 CITA'TION BY PUBLICATION
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      SUPPLEMENTAL COUNTERCLAIM
                                                                                                                           ,�f FORM NOTICE
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CROSS-ACTION:
-- AMENDED CROSS-ACTION
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                                                                                                                        (�RECEPT (SHOW CAUSE)
       SUPPLEMENTAL CROSS-ACTION                                                                                         ·0'RULE 106 SERVICE
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THIRD-PARTY PETITION:                                                                                            t�        SUBPOENA
        AMENDED THIRD-PARTY PETITION                                                                          !>/t:r
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INTERVENTION:                                                                                                              AT ACHMENT (WITNESS)
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       SUPPLEMENTAL INTERVENTION                                                       p·�

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       SL�PLEMENTAL INTERPLEADER                                         �/                                                EXECUTION
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                                                                     /��·                                                  EXECUTION AND ORDER OF SALE
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INJUNCTION                                                                                                                 GARNISHMENT AFTER JUDGMENT

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MOTION TO MODIFY                                              {g�)
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SHOW CAUSE ORDER                              (' �                                                                         INJUNCTION
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TEMPORARY RESTRAfNING ORD�
                        o�i.()r
                       r?���                                                                                                PROTECTIVE ORDER (FAMILY CODE)
                                                                                                                            PROTECTIVE ORDER (CIVIL CODE)
                            ��
BILL OF DISCOVERY: �
    ORDER TO: __:0�-��*� '' ���������                                                                                       POSSESSION (PERSON)
                                       (specify)                                                                            POSSESSION (PROPERTY)
     MOTION TO:
                                       (specify)
                                                                                                                            SCIRE FACIAS
                                                                                                                            SEQUESTRATION
                                                                                                                            SUPERSEDEAS




                                                                                   Page 2 of2
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                                                                                                                                               Chris Daniel • District Clerk
                                                               C IVIL CAS E INFORMATION SHEET wv. l!tJ)                                        Harris County
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              STYLED Houston G ranite and Marble Center, LLC vs. Mesa U nd erwriters Specialty I nsurance Company
                                                                                                              · ----                                            -             -
                                    (q:.. John Smith v . All American Insurance Co: In "' Maiy Ann Jones: In the Matter of tlie Eswte of George Jack.,on)
A civil case information shett mus! be completed and submitted whrn an original petition or application is filc><l to initiate a new civil. fomily law, probate. or mental
hcalth case or when a post-judgment petition for rnodifo::ation or motion for enforcement is filed in a family law case. The information should be the best available at
the time of Jilin
l. Contat:t infornutlioll for      rson tom letlii cue lnformiitiol\ sheet:               Narms of .'lrtitt ltH1lW
                                                                                                                                               Attorney for P!aintilf!P<:1itioner
                                              Email:                                      Plaintitlls)IPctitioner{s):                        0 Pro Se Plaintiff/Petitioner
                                                                                                                                             0Tit!e !V-D Agency
David P. Havins                                roxana@havinslaw.com                        Houston Granite and Marble Center, LLC            OOthcr: ----------

Address:                                      Telephone:
                                                                                                                                             Additi�artiCli in Child Support Case:
                                               71 3-484-551 4
                                                                                          Defendant(sJIRespondent(s):                        �tit Parent:
                                              Fax:
                                                                                           Mesa Underwriters Specialty                       IE�
                                                                                                                                             �/
                                               7 1 3-665-681 8                                                                         iNon-Custodial Parent:
                                                                                           Insurance Company
                                                                                                         ·�---'----��0��
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                                              . tate Bar No:                                                                         r::�-
                                                                                                                   ____...,..".,_'":.;.,._
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                                                       Civil


                                            Assault/Battery                                                               Annulment                           Enforcement
                d:>TPA                  oc()nstruction                                                                  0 Declare Marriage Void             O M odlfication--Custody
                                        0Defamation                                                                     Divorce
                                                                                                                          O With Children
           untracl                                                                                                                                          0Modification-Other
    . raud!Misr�-pn..>:;entation        ,\1afprac1icc
   O Other Debt/Contract:                  0 Accounting                                                                   ONo Childrcn
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Foreclosure                                0 Mt.-dical
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      ranee                             OM�tor Vehicle Accident
O umdlord!Tenant                        0 Premist.-s                                                                      Enforce Foreign                    Adoption/Adoption with
O Non-C'ompetition                      Product l.iabilitv                          [Gfudgment Nisi                       Judgment                           Tennination
O Partnership                            0 Asbes1os!S.ilica                       0 �on-Disclosure                      0 Habeas Corpus                     0Chlld Protection
OOther Contract:                          O Other Product Liability (I� �USeizure!Forfeiture                            0 Name Charige                      0Chlld Suppon
                                                                                    0Wtit of Ha!x>-.15 Corpus--         0 Protective Order                  0Custody or Visitation
                                             Ust Product               1;::::::;;,
                                                                       \' �           Pre-indictment                    0Removal of Disabilities            0Gestationnl Parenting
                                                             -                      0 0ther.                              of Minority                       0Grandparetrt Access
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                                                               I   : I {)
                                                                                                                                                               Rights
                                                                                                                                                            00ther Parent-Child:
O Dlsctimirn.ttion                                                                O Lawyer Discipline
0 Retaliation                                                                     0 Petpctuatc Testimony
0Tennination                                                                      OScxutities/Stock
0 Workers· CQmpensation                                                           0Tonious lnterterence
00ther Employment:                                                                00ther: - --·
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                                                                                                   Probate & Mental Health
                                        ' 'robare!Wilfsl/nle.rtate Adminislration                                  Guardiam.hip--·Adult
                                            D IA-pendent Administration                                           OOuardianship-Minor
                                            O Independent Administration                                          0Mcntal Ht.'alth
                                            0 0tht-r Estate Procet.>dings                                         00ttier: -------


     Appeal from Municipal Qf Justice Court                         Declaratory Judgment                                     Prejudgmt'llt Remedy
  0Arbitration-rdatro                                            0Gamishment                                               0 Protective Order
  0Attachment                                                    O lnterpkadcr                                             0 Receiver
  0 Bill of Review                                               O Llcense                                                 0Sequestration
  0 Ceniomri                                                     0 Mancl.1mus                                              OTemporary Restrnining Order/Injunction
  0Class Action                                                  0 Post·judgmcni                                           0Tumovcr
 4, lndh:ate dama es sou ht do not select I 11 is a QmJ/ law r:IZN •
   • L<..'SS than S l (I0.000, includ ing damages of nny kind, penaltie,;, costs, c�penses, pre-judgment intc�t. and attorney foes
  0 Less than S J OO,()()(l ,:md nnn·monetary relief
  OOvcr SI 00, 000 but not more than S200.000
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   Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 5 of 17
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HOUSTON GRANITE AND MARBLE                                             §                   IN THE DISTRICT COURT
CENTER, LLC                                                            §
            Plaintiff                                                  §
                                                                       §
vs.                                                                    §                 OF HARRIS COUNTY, TEXAS
                                                                       §
MESA lJNDERWRJTERS SPECIALTY                                           §
INSURANCE COMPANY                                                      §                             �L,
            Defendant                                                  §                        J��AL DISTRICT
                     PLAINTIFF'S ORIGINAL PETITION        ((:5<;;
                      AND REQUEST FOR DISCLOSURE tF�                                         0""
                                                                                               '0
                                                  0,<! ""
        NOW COMES, Plaintiff HOUSTON GRANITE ANI)?�ARBLE CENTER, LLC

complains of Defendant MESA UNDERWRITERS SPEC*'TI INSURANCE COMPANY
                                                                                         n'�


                                                            o i@J
(hereinafter "Defendant") and respectfully shows the follo��
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                                                          v
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                                                                    ��)
                                                                       '
         1 .1    Plaintiff requests discovery to b {�ducted under Level 3 of Rule 1 90 of the Texas
                                                       fl   , _..../


Rules of Civil Procedure.
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                                                 �·,
                                           ,00 /{ �            II.
                                                        PARTIES
                                                 'i

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                                         rR� ·
        2. 1 Plaintiff HODS!� GRANITE AND MARBLE CENTER, LLC is doing business
                                         ··�



                              ()
                           ,'fy��
at 9500 Hempstead Rd., Hf85Sf&n, Harris County, Texas.
                                 \�
                                  '--3

        2.2      Defend�ESA UNDERWRITERS SPECIALTY INSURANCE COMPANY is
                         rf:f�
                            !
an Insurance Co* doing business in Texas and may be served with process by serving its
                 C)
registered age��rporation Service Company at 23 3 8 W. Royal Palm Rd., Suite J, Phoenix, AZ
             �
8 502 1 or wherever it may be found.

                                                               III.
                                          JURISDICTION AND VENUE

        3.1      The Court has jurisdiction over the controversy because the damages are within the
jurisdictional limits of this Court.

HOt.:STON GRANITE                        PLAINTIFF'S ORIGINAL PETITION                                            PAGE l OF 9
AND MARBLE CENTER, LLC                   AND REQUEST FOR DISCLOSURE
(CLIENT #15-3321)
   Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 6 of 17




         3 .2    Pursuant to § 1 5.002 and § 1 5.005 the Texas Civil Practice and Remedies Code,

Venue is proper in Harris County, Texas because the cause of action occmred in Harris County,
Texas.

                                                       IV.
                                                      FACTS

         4. 1    On or about September 1 6, 20 1 4, ("herein "date of loss") �@ntiff sustained
                                                                                   �w
damages to certain granite and marble slabs that were broken on their pren�f at 9500 Hempstead

Rd ., Houston, T exas.                                        �
                                                             o�,,,
                                                             �
         4.2

SPECIALTY INSURANCE COMPANY.
                                                                         v
                 At the time of loss, Plaintiff was insured �MESA UNDERWRITERS

                                             Plaintiff had0 �hased an insurance policy from
                                                           �
Defendant MESA UNDERWRITERS SPECIALTY INS�NCE COMPANY, which had policy
                                                     R::Jf
limits of $450,000.00 per person per occurrence [q�_}property damages and coverage for loss of
                                                     �
                                                              (/�" 2:1
                                                              ""<;::"
business in the amount of $20,000.00.                 p�"'\':;
                                                      .\_))
         4.3     The policy issued by �dant MESA UNDERWRITERS SPECIALTY
                                                 (<   �/




INSURANCE COMPANY providei �coverage
                             @'
                                     for the perils that occmTed on Plaintiff s
                         a �'0
premises. Plaintiff relied on their(�sentations and waTI'anties that the policy covered perils for
                                    �
the incident that occurred on h��mises.
                              n, �
         4.4     On Octob(4){ 201 4, Plaintiff notified MESA UNDERWRITERS SPECIALTY

INSURANCE CO� that he had sustained damages to ce1iain granite and marble slabs that
                         !�




were broken as �}�ct result of a covered peril on his premises.              The notice and proof of loss,
                 re�=
included do��nts evidencing ( 1 ) numerous commercial itemized invoices evidencing losses for

granite and marble in the sum of $6 1 ,3 84. 1 4; (2) freight invoices; (3) Property Loss Notice; (4)

Houston Granite and Marble Center, LLC Account Listing; and (5) photographs evidencing the

damage to Plaintiff's granite and marble slabs.



HOUSTON GRANITE                      PLAINTlFF' S 0RJGJNAL PETJTION                            PAGE 2 0F 9
AND MARBLE CENTER, LLC               AND REQUEST FOR DJSCLOSURE
(CLIENT # l 5-332 1 )
   Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 7 of 17



        4.5      On August 20, 2 0 1 5 , Plaintiff made a demand upon Defendant MESA

UNDERWRITERS SPECIALTY INSURANCE COMPANY for reimbursement of damages

sustained in the sum of $6 1 ,3 84. 1 4 in accordance with the tenns and conditions of the policy. The

demand letter included ( 1 ) documents evidencing invoices for damage to the materials; (2) the cost

of the materials; and (3) photographs depicting the damage to the materials.

        4.6      Despite notice and proof of loss, Defendant MES� �DERWRlTERS
                                                                  <Y
                                                               ;?


SPECIALTY INSURANCE COMP ANY has refused to respond to Plai �� demand and/or make
                                                                                                    I.' ')

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                                                                                             0 ' ()'
a good faith offer of settlement.
                                                                                          0 �'
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        4.7      The claim has been assigned to Mr. Kip Quist, a��gy Assurance Adjusters, who

is an insurance adjuster for D efendant MESA UNDER��ERS SPECIALTY INSURANCE
                                                                                   -1�·


                                                                              ,f�
COMPNY.                                                                      R({::r
                                                                             <(�
        4.8      Plaintiff has fully complied with alt��he conditions of the insurance policy and/or
                                                                    ":--!�


satisfied all conditions precedent prior to the insti.tiH:ion of this suit.
                                                                    p�
                                                             \':1
                                                             ��
                                                                    '=/

                                                             � v.
                                    TEXAS INSU!(ANCE
                                             @i., . - ·
                                                        CODE VIOLATIONS
                                                 ,,.p ��I}


        5.1      Plaintiff incorpora��� realleges the allegations of Paragraphs 4. 1 through 4.8
                                           \�

inclusive, as if fully set forth v�m.
                                     "'" ;u '
                                  A0>
                              ,,...-) \�
        5.2      Pursuant tl§ ection §542.058 of the Texas Insurance Code, Defendant MESA

UNDERWRITERS si��LTY INSURANCE COMPANY has a duty to make a written reply to
                 \t,��
claims within six�ys of the demand.
                  r;�;J)
         5.3 �icle §542.060 of the Texas Insurance Code, penalizes insurance companies that

delay payment of benefits under insurance policies for failure to comply with the prompt payment

requirements of the statute and may be held liable to pay the amount of the claim, plus damages

consisting of 1 8 percent per annum of the amount of the claim and reasonable attorney fees.



HOUSTON GRANITE                                 PLAINTJFF'S ORJGINAL PimTION                                 PAGE 3 0F 9
AND MARBLE CENTER, LLC                          AND REQUEST FOR DISCLOSURE
(CLIENT#l 5-332 1 )
   Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 8 of 17



        5 .4     Pursuant to §54 1 .060, it is an unfair method of competition of an unfair or deceptive

act or practice in the business of insurance to engage in the following unfair settlement practices

with respect to a claim by an insured or beneficimy:

                 5 .4. 1      misrepresenting to a claimant, a material fact or policy provision relating to
                              coverage at the time;

                 5.4.2        failing to attempt in good faith to effectuate a prompt, �� and equitable
                              settlement of a) a claim with respect to which the i�er's liability has
                              become reasonably clear; or b) failing to promptly µ� to a policy holder
                              a reasonable explanation of the basis in the policy�  ¥eiation to the facts or
                              applicable law, for the :insurer' s denial of a cla�Ql' offer of a compromise
                              settlement of a claim;                                          .Ji£
                                                                                            v (�,

                 5.4.3        failing to affirm or deny coverage of a cla� a policyholder;
                                                                                             �3


                                                                                        �
                 5 .4.4       failing to tender the policy limits;                 ;4,�9

                 5.4.5   refusing, failing or unreasonab1)(�%ing a settlement offer under applicable
                                                                                   /�




                         underinsured motorist coverag�»r<fvisions of the policy;
                                                      r,�-
                                                      0 �r"/          (/_,,---,\




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                                                                   0..




                 5 .4.6 refusing to pay a claim         ,,liability is clear and third party coverage is
                         inadequate to compen�a�J?)laintiff for his damages;
                                               A �
                 5 .4. 7 delaying or refusiniJ'ertlement of a claim without a rational basis; and
                                                  r?'f:))
                 5.4.8        advertising �presenting that Defendant MESA UNDERWRITERS
                              SPECIALTt'j'r� SURANCE COMPANY claims process was "streamlined,
                              stress-free�hassle-free".
                                        �
                                  r n��
                                       '(
                                        0)
                                    =                        VI.
                                  \W          BREACH OF CONTRACT

        6. 1     Plain�corporates and realleges the allegations of Paragraphs 4 . 1 through 4.8
                               '(�
                         o�

inclusive, as if fu          et forth verbatim.
                      ,;))

         6.2 $the time of the accident, Plaintiff was an eligible beneficiary and covered person

within the tenns of the policy issued and undenvritten by Defendant MESA UNDERWRITERS

SPECIALTY INSURANCE COMPANY.




HOUSTON GRANITE                             PLAINTIFF'S 0RJGINAL PETJTION                            PAGE 4 0F 9
AND MARBLE CENTER, LLC                      AND REQUEST FOR D!SCLOSURE
(CLIENT # 1 5-332 1 )
   Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 9 of 17



        6.3       Defendant has breached the duties owed to Plaintiff under the policy of insurance in

effect, and violated Sections §542.058 and §542.60 of the Texas Insurance Code, by one or more of

the following acts and omissions, to wit:

                   6.3 . 1   In breaching the duties owed under the policy in effect;

                   6.3.2     In breaching the duty to negotiate plaintiffs claims;

                  6.3 .3     In breaching the duty of good faith and fair dealing;            @;
                                                                                               �'
                                                                                             �
                                                                                         IP (,
                                                                                                 �/




                   6.3 .4    In breaching the duty to provide a written explana��r the denial of
                             plaintiff' s claim;
                                                                                       �J�
                   6.3.5     In breaching the duty to investigate plaintiff;� within a reasonable
                             period of time;
                                                                                   y
                                                                                   �
                   6.3 .6    In breaching the duty to make a good,. ' offer of settlement;
                                                                �C�'
                   6.3.7     In breaching the duty to pay cl��der the policy in effect;
                                                                          (/�'0,




                                                            y
                   6 .3 .8   In breaching the duty to inv�Me plaintiff s claims;
                                                                    I�




                                                            C's�.



                   6.3.9     In breaching the duty �o'\'t!Wely investigate plaintiffs claims ;
                                                          p� '


                   6.3 . 1 0 In breaching the d'-W� properly investigate plaintiff's claims;
                                                      (,�

                                               (0 )!
                                               p <::::/
                   6 .3 . 1 1 In breaching �    �ty to properly handle plaintiff's claims;
                                          A�
                                         \' ) \
                   6.3. 1 2 In breac       1lie duty to evaluate plaintiff s claims;
                                      �
                                    �
                   6 .3 . 1 3 In bre = g the duty to timely evaluate plaintiff s claims ;
                                 (F0
                   6.3 . 1 4 ��reaching the duty to make an offer of settlement and/or pay plaintiff's
                                �)

                             o,;{,k;?�
                         o �(?'�alms;
                   6.� In breaching the duty to timely tender a good faith offer;
                  AJJ
                �3 . 1 6 In misrepresenting the terms of the policy; and

                   6.3 . 1 7 In committing unfair settlement claim practices.

                                                            VII.
                                                     NEGLIGENCE

         7. 1      Pl aintiff incorporates and realleges the allegations of Paragraphs 4. 1 through 4. 1 0

inclusive, as i f fully set forth verbatim.
HOUSTON GRANITE                           PLAINTIFF'S 0RJGfNAL PETITION                               PAGE 5 0F 9
AND MARBLE CENTER, LLC                    AND REQUEST FOR DISCLOSURE
(CLIENT # 1 5-332 1 )
  Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 10 of 17



        7.2      Plaintiff shows            that    Defendant MESA                     UNDERWRITERS                 SPECIALTY

INSURANCE COMP ANY has negligently engaged in the following acts and omissions to act, to

wit:

                 7.2. 1   In failing to investigate plaintiffs claim within a reasonable period of time;

                 7.2.2    In failing to make a good faith offer of settlement;

                 7.2.3    In failing to make a prompt, fair and equitable settlem��
                                                                                                            ((�
                 7.2.4    In failing to pay claims after liability has been reas(21?-�Y clear;
                                                                                                 0    \"-..____,�
                                                                                                     .0'        /

                 7.2.5     In delaying benefits under the policy after liab�
                                                                           @�,
                 7.2.6     In failing to properly investigate plaintiffi� �s;
                                                                                           /'j




                 7.2.7     In failing to timely investigate plainti�laims;
                                                                                       �     ·




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                                                                              I/£


                 7.2.8     In failing to adequately evaluatC'.:.,pTumtiff's
                                                                     t
                                                                            claims;

                 7.2.9     In failing to timely evaluate ��tiff' s claims;
                                                              0--./F0;',..,
                                                             ;?��
                 7.2. 1 0 In failing to tender a s        l§_i;rlent offer of plainti ff's claim;
                                                                      v




                                                         t
                                                        .A
                 7.2. 1 1 In failing to make �ffilf and complete investigation of plaintiff's claims;
                                               (f(Cy
                 7.2 . 1 2 In failing to�te plaintiff's claims; and
                                                  c



                                        ( n, .
                 7.2. 1 3 In engagi ttr1unfair settlement acts and practices.
                                     �
        7.3      Plaintiff shows'Th{t each of the above and foregoing acts and omissions to act, either
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singularly or in combin�¥�tn with one another, constitute negligence, under the terms and conditions
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of the policy in e�{Ji
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                   y"'
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                                                             VIII.
               �                                             FRAUD
         8.1     Plaintiff incorporates and realleges the allegations o f Paragraphs 4 . 1 through 4.8

inclusive, as if fully set forth verbatim.

         8.2      Plaintiff purchased a policy of insurance from Defendant MESA UNDERWRITERS

SPECIALTY INSURANCE COMPANY and relied on Defendant MESA UNDERWRITERS

HOUSTON GRANITE                              PLAJNTlFF'S 0RIGrNAL PET!TlON                                           PAGE 6 0F 9
AND MARBLE CENTER, LLC                       AND REQUEST FOR DJSCLOSURE
(CLIENT #1 5-332 1 )
  Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 11 of 17



SPECIALTY INSURANCE COMPANY' s advertisements, representations and warranties that its

insurnnce policy and services were superior to its competitors and that it would timely process,

evaluate and pay its claims.

        8.3       Defendant MESA UNDERWRITERS SPECIALTY INSURANCE COMPANY

made representations and wananties that claims would be evaluated and timely resolved.

        8.4       Defendant MESA UNDERWRITERS SPECIALTY !NSU�" COMPANY's
                                                                                                           (F �
acts, and omissions, and fraudulent misrepresentations described in p �ph 4.1 through 4. 1 0

above resulted in economic injury to Plaintiff.
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        8.5       Plaintiff is entitled to and requests exempl ary d�l: in an amount detennined by
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the trier of fact to be fair and reasonable and consistent wi�he requirements of law, including
                                                           k�)
Chapter 5 1 of the Civil Practice and Remedies Code. (�Qr
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                                                                                    /�c!I


                                                       REQUEST ���CLOSURE

        9. 1      Pursuant to Rule 1 94.2 of the t�Ys Rules of Civil Procedure, Defendant is requested
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                                                                     g
to disclose the information and/or materials described in Rule 1 94.2 of the Texas Rules of Civil
                                                            ,,-:::;\'(y
Procedure within fifty (50) days fro1��ate of service of Plaintiff's Original Petition.
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                                   I.A
                                                      ���                    x.
                                                rHENTICATION OF DOCUMENTS
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         1 0. 1      Plaintiff�v}s actual notice to Defendant and/or co-Defendant, i f any, that any and
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all documents prodm;,'ijfBy Defendant during discovery may be used against the Defendant(s), at
                 it�'::.dJ
any pre-uial prof©�ing and/or trial of this matter without the necessity of authenticating the
                   �':::Y
document. ��otice is given pursuant to Rule 1 93 . 7 of the Texas Rules of Civil Procedure.

                                                                             XI.
                                                                          DAMAGES

         1 1.1    Pursuant to TRCP 47 (c), Plaintiff seeks damages over $50,000 but not more than

$75,000.00 for damages sustained while coverage was in effect.

         1 1 .2    Pursuant to TRCP, Plaintiff seeks exemplary damages for fraud and deceptive trade.
HOUSTON GRANITE                                        PLAfNTJFF'S ORJGfNAL PETITION                              PAGE 7 0F 9
AND MARBLE CENTER, LLC                                 AND REQUEST FOR DISCLOSURE
(CLIENT # 1 5-3321 )
  Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 12 of 17



        1 1 .3    As a result of the incident that occurred, Plaintiff sustained property damages to

marble and granite slabs that were broken on his premises.

        1 1 .4    As a direct and proximate result of the negligence of Defendant MESA

UNDERWRJTERS SPECIALTY INSURANCE COMPANY's breach of contract and/or




                                                                             =
                                                                                     *
negligence in processing Plaintiff's claims, Plaintiff has sustained actual, exemplary and/or

compensatory damages in excess of the minimum jurisdictional limits of this h�able court.
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                                                                                'y
                                                                               �
                                                             XII.
                                              ATTORNEY FEES                 o�

                                                                          "�
        12.1    Plaintiff has employed the undersigned attorney �@and prosecute this suit. As a
                                                                          o�



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direct result of Defendant' s breach of the insurance contract, �intiff  has incurred reasonable and
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necessary attorney 1ees
                    .c   1or
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                             h avmg to prosecute th'1s comp1§
                                                            ffttJr

        1 2 .2    Defendant MESA UNDERWRITER&S     ��IALTY INSURANCE COMPANY has
                                           0 (::::'/)\



delayed payment of Plaintiff's claim for mor��inety days after it received all of Plaintiffs
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demand for a good faith offer of settleme�$D gether with documents evidencing the cost of the
                                                        (I   '-"_,


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materials.                                  (?'(e?=,1
                                         ():;,�)
        1 2 .3    Pursuant to Article :e.060 of the Texas Insurance Code and §38.001 o f the Texas

Civil Practice and Remedies �� Plaintiff is entitled to recover reasonable and necessary attorney
                               �. :f)
                                   '-"/�
fees for the trial of this act�ii) including any appeals to the Texas Court of Appeals and/or the Texas
                            �
                           fii}
Supreme Court.               ;
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                    ���                                      XIII.
                                         STATUTORY PENALTIES
                    \�
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         1 3 . 1 Pursuant to Article §542.060 of the Texas Insurance Code, Plaintiff is entitled to

recover the additional sum of eighteen percent (1 8%) of the amount detennined payable under the

tenns of the policy.

         1 3 .2   Plaintiff seeks statutory penalties for interest at the rate of eighteen ( 1 8%) per annum

commencing from the date of the Plaintiff's demand for settlement.
HOUSTON GRANITE                        PLAINTIFF'S ORJGlNAL PET!TION                            PAGE 8 0F 9
AND MARBLE CENTER, LLC                 A."! D REQUEST fOR DiSC'LOSURE
(CLTENT #l5-332 1 )
  Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 13 of 17



                                                              XIV.
                                                    DEMAND FOR JURY

        1 4. 1    Plaintiff demands a trial by jury.

                                                          PRAYER

        Plaintiff requests that Defendant MESA UNDERWRITERS SPECIALTY INSURANCE

COMPANY be cited to appear and answer, and that upon final trial, Plaintiff ha�u:dgment against
                                                                                0
                                                                           �rvj,
Defendant for full amount of his actual, exemplary/punitive, statuto��or compensatory

damages, with pre-judgment and post-judgment interest, for costs of �� and for such other and

fmther relief, special and general, at law and in equity, to which he'� be justly entitled.
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                                                                         Respectfilll;;v Su
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                                                              ;;:=,��,       David P. Havins
                                                              \0)            State Bar No. 09239700
                                                      � �                    6750 West Loop South, Suite 800
                                                         (I    "=


                                                      Q                      Bellaire, Texas 7740 1
                                                  ((ff)                      (713) 484-5 5 1 4
                                               �f:j;                         (7 1 3) 665-68 1 8 (fax)
                                              rR�                            Attorney for Plaintiff Houston Granite and
                                                                             Marble Center, LLC
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HOUSTON GRANITE                               PLAfNTrFF's ORJGTNAL PETITION                                    PAGE 9 0F 9
AND MARBLE CENTER, LLC                        AND REQUEST FOR DISCLOSURE
(CLIENT #] 5-332 1 )
       Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 14 of 17
                                                                                                                                                      1 /5/20 1 6 1 1 : 4 1 : 1 9 A M
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                                                              SERVICE AF FIDAVIT
333RD J UDICIAL DISTRICT COURT OF HARRIS COUNTY,                                          CASE NO:                 TR # 731 94330
TEXAS
                                                                                          COURT DATE:
HOUSTON TEXAS                                                                             COURT TIME:              00:00:00
County of
PLAI NT I F F :                                                                           D EF E N DANTS :
                                                                                                                         � .
H OUSTON G RANITE AND MARBLE CENTER                                                       M ESA U N DERWRITERS SPECIALT"1��URANCE
                                                                                                                          =       COM PANY
LLC
                                                                                          2338 W ROYAL PALM RD su d�)
                                                                                                                               �!@)
                                                                                          PHOENIX, AZ               85 �se?
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The declarant, being duly sworn, states: I am fully q ualified under Rule 4(d) Ariz. R.Civ.P tac �rocess in this action, having been so
appointed by the court; I received and served the following documents in the manner de�         · d/below:
                                                                                                             �jl
DOCUMENT TYP E :                             CITATION_(NO N-RESIDENT); PLAINTIFF'r�IGINAL PETITION AND REQUEST FOR
                                             DISCLOSURE
                                                                                                     ��J>
P ERSON(S) S ERVED:                M ESA UNDERWRITERS SPECIALTY I NSLJ�                 � E COMPANY (Defendant)
                                                                              1( If\:-:.
P LACE OF S ERVI C E :             USUAL PLACE OF BUSI N ESS                  � � f
                                                                          ({'
                                   2338 W ROYAL PALM RD S U ITE J         -�
                                                                        /?
                                   PHOENIX, AZ 85021

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                                                                      �:�;:;,
By delivering 1 SET(S) true copies to: M ELONY YOON , SERVICE 0Fl'j<OCESS COORDI NATOR
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SEX: F; AGE/DOB: 25; RACE: ASIAN; H E I G HT: 5'6"; HAIR: ��'...�K;
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Notes: M ELONY YOON IS THE SERVICE OF PROCESSrr.£ 0'0RD I NATOR FOR CORPORATION SERVIC E COMPANY WHO IS THE
STATUTORY AGENT FOR THE DEFENDANT AN D IS,#-W,ORIZED TO ACCEPT SERVICE O N THEIR BEHALF.
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F I L E #:                                   1 25583       �
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REF #:
DATE OF SERVI C E :                          1 2/22/20
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T I M E OF S E RV I C E :                    14:16 �
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Next Actio n :                               N      er Action
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                                    2,9 \� ·
I declare under penalty of perjury that t    rifgbing is true and correct.
                                            �
Signed on the 5th day of January,
                                                                                                      FEES:        $65.00      Service Fee
                                                                                                                   $65.00      Total




             �?.�                 AFFIANT'S SIGNATURE
                                             Tom Zollars
Process server licensed in Maricopa County
Subscribed and sworn to this date: 1 /5/20 1 6 9:33: 1 4 AM



                                       N OTARY PUBLIC
                                                         S U PE R I O R P ROCESS S ERVICES, I N C .
                                                               770 1 E . Indian School Suite E
                                                                 Scottsdale, Arizona 852 5 1
                                                                        (480) 429-6886
     Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 15 of 17
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                                                          2015-71426

HOUSTON GRANITE AND MARBLE                                     §                     IN THE DISTRICT COURT OF
CENTER, LLC                                                    §
    Plaintiff,                                                 §
                                                               §                     HARRIS COUNTY, TEXAS
v.                                                             §
                                                               §
MESA UNDERWRITERS SPECIALTY                                    §                                         _0s
INSURANCE COMPANY                                              §                     333rd JUDICIAL ��CT
     Defendant.                                                                                   (F ��
                                                                                                    �)
                                                                                                (? �


     DEFENDANT MESA UNDERWRITERS SPECIALTY INS�NCE COMPANY'S
                                                                                               ()���




                         ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:
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        COMES NOW Defendant Mesa Underwriters Spe@l; ,                                  Insurance Company ("Mesa") and
                                               0'::,
files this Original Answer as follows:                                  e�
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                                                 GEN�DENIAL
                                                          ·�
        Pursuant to TEXAS RULE OF CivrvcfrROCEDURE 92, Defendant Mesa generally denies each
                                                          �)


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and every, all and singular, of the '!'�
                                                 0 ((J,
                                        �ions contained within Plaintiffs Original Petition, and
                                   i,f       'J
demands strict proof thereon by�reponderance of the credible evidence in accordance with the

Constitution and the laws f;)f �iitate of Texas.
                                         �- z)

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                          00:/«)r                           II.
                         (? c�/                           PRAYER
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        WHERE�E, PREMISES CONSIDERED, Defendant prays that Plaintiff takes nothing
             ��
by this suit �hat Defendant goes hence with its costs, without delay.




DEFENDANT'S ORIGINAL ANSWER                                                                                                  PAGE 1
   Case 4:16-cv-00173 Document 1-5 Filed in TXSD on 01/20/16 Page 16 of 17




                                                Respectfully submitted,


                                                Isl Stephen A. Melendi
                                                Stephen A. Melendi
                                                SBN 2404 1 468
                                                stephenm@tbmmlaw.com
                                                Aaron G. Stendell
                                                SBN 24073062                       r
                                                aarons@tbmmlaw.com
                                                                                 �  L..
                                                                              �@)
                                                TOLLEFSON BRADLEY MITCH�� MELENDI, LLP
                                                28 1 1 McKinney Avenue, SJ11i� 250 West
                                                Dallas, Texas 75204 ")l��
                                                Telephone:     2 1 4-665,:,
                                                                         �0
                                                Facsimile:     2 1 4� 1 99
                                                                       ,v;::.


                                                ATTORNEYS �)}EFENDANT
                                                              o�@J
                                                             !(�:,
                                        CERTIFICATE OF �,t;�ICE

       I certify that a true and correct copy of;�;i;regoing document was served on the
                                              �0

following counsel of record pursuant to the Texa�ules of Civil Procedure on January 1 1 , 20 1 6 :
                                               (l� 'V
David P. Havins                               '?:�
                                            r-�
THE HAYINS LAW FIRM, LP.
                                         @)
6750 West Loop South, Suite 800 d:,,cj{}
Bellaire, Texas 7740 1
7 1 3-665-68 1 8 (fax)           rA
                                 ,�
                                   �
Attorney for Plaintiff
                               �
                                   ��
                            (:z�J
                               , ·-:0           Isl Stephen A. Melendi
                                                Stephen A. Melendi
                  ��I
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DEFENDANT'S ORIGINAL ANSWER                                                                 PAGE 2
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                                                          ounty District Clerk - on
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   HCDistrictclerk.com                     HOUSTON GRANITE AND MARBLE CENTER LLC vs.                                                      1 /20/20 1 6
                                           MESA UNDERWRITERS SPECIALTY INSURANCE
                                           COMPANY
                                           Cause: 20 1 5 7 1 426 CDI: 7 Court: 333

   DOCUMENTS
   Number              Document                                                                                       Post Date                  Pgs
                                                                                                                      Jdgm
   6850762 1           Defendant Mesa Underwriters Special Insurance Company's Original Answer                               0 1 /1 1 /20 1 6    2
   6 8434022           Service Affidavit                                                                                     0 1 /05/20 1 6

   680290 1 5          Plaintiffs Original Petition and Request for disclosure                                                1 1 /25/20 1 5     9

     ·> 680290 1 6     Civil Case Infon11ation Sheet                                                                          1 1 /25/2 0 1 5

     > 680290 1 7      Civil Process Request                                                                                  1 1 /25/20 1 5     2




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